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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION




UNITED STATES OF AMERICA,

                Plaintiff,
                                                        CASE NO. 1:05-CR-163
v.
                                                        HON. ROBERT HOLMES BELL
EBOW ESSON ANUMEL,

                Defendant.
                                    /


                        MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #1024). On March 28,

2008, a Report of Eligibility was issued by the Probation Department that indicated

defendant appeared to be ineligible for consideration of modification of sentence.

Defendant has not filed an objection to the Report of Eligibility within the time-frame

established by procedures promulgated by the United States District Court for the

Western District of Michigan.

       It appears from a review of the original criminal file that defendant was sentenced

pursuant to an Information charging him with Conspiracy to Distribute and to Possess

with Intent to Distribute Marijuana contrary to 21 U.S.C. §§846, 841(a)(1) and

841(b)(1)(C).
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        Eligibility for consideration under 18 U.S.C. §3582(c)(2) is triggered only by an

amendment listed under Sentence Guideline §1B1.10(c). Because there is no listed

amendment lowering the guideline range for marijuana, defendant is not eligible for a

sentence modification under §3582(c)(2).

        ACCORDINGLY, defendant’s motion is hereby DENIED.




Date:      May 12, 2008                     /s/ Robert Holmes Bell
                                           ROBERT HOLMES BELL
                                           CHIEF UNITED STATES DISTRICT JUDGE
